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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION


STATE OF TEXAS; STATE OF
LOUISIANA,                                           Civ. Action No. 6:21-cv-16


              Plaintiffs,

v.

The UNITED STATES OF AMERICA;
ALEJANDRO MAYORKAS, Secretary of
the United States Department of Homeland
Security, in his official capacity; UNITED
STATES DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Senior Official
Performing the Duties of the Commissioner
of U.S. Customs and Border Protection, in his
official capacity; U.S. CUSTOMS AND
BORDER PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official
capacity; U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT; TRACY
RENAUD, Senior Official Performing the
Duties of the Director of the U.S. Citizenship
and Immigration Services, in her official
capacity; U.S. CITIZENSHIP AND
IMMIGRATION SERVICES,

              Defendants.


                    PLAINTIFFS’ REPLY IN SUPPORT OF THEIR
                    MOTION FOR A PRELIMINARY INJUNCTION




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                                          INTRODUCTION

       Defendants are refusing to take custody of dangerous criminal aliens upon release from

state custody. They do not dispute that fact. Instead, they argue that they have no obligation to do

so—despite the plain language of the INA—and that, even if they did, there would be nothing this

Court could do about it.

       Defendants theorize an executive branch unbound by the rule of law. On Defendants’

theory, Congress could never write a statute clear enough to constrain executive discretion over

immigration enforcement. Nor, according to Defendants, is there any role for the courts.

Defendants seem to believe that nothing they do is subject to judicial review, even if it is unlawful.

       That is not our system. This Court has already rejected Defendants’ efforts to avoid judicial

review. See Texas v. United States, No. 6:21-cv-3, 2021 WL 723856 (S.D. Tex. Feb. 23, 2021).

And their recycled arguments are no more persuasive this time.

       When Congress sets policy priorities by statute, the Executive Branch cannot disregard

them. Even if the Executive would otherwise have discretion, Congress can constrain or even

remove that discretion at its pleasure. “It is undisputed that Congress may mandate that the

Executive Branch detain certain noncitizens during removal proceedings or before removal.”

Nielsen v. Preap, 139 S. Ct. 954, 973 (2019) (Kavanaugh, J., concurring).

       Congress has mandated detention, but the Executive Branch is disregarding that mandate.

And it has done so arbitrarily, without even attempting to justify releasing dangerous criminal

aliens into American communities. This Court should issue a preliminary injunction to vindicate

important congressional commands and protect public safety.

                                  SUMMARY OF THE ARGUMENT

       The January 20 Memorandum and the February 18 Memorandum are unlawful for multiple

independent reasons. First, they substantively and procedurally violate the APA. Second, they are


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inconsistent with the President’s constitutional obligation to take care that the laws are faithfully

executed. Third, they violate the Agreements that DHS signed with both Texas and Louisiana.

         No procedural objection should prevent the Court from reaching those merits issues. Texas

and Louisiana have standing for the same reasons courts have routinely recognized state standing

in recent immigration cases. The challenged memoranda are final agency action reviewable under

the APA, but even if they were not, Plaintiffs’ non-APA claims would still be properly before the

Court.

         For these reasons, Plaintiffs are likely to prevail on the merits. In addition, a preliminary

injunction would redress irreparable harm to Plaintiffs and promote the public interest without

harming any legitimate interests of Defendants. The Court should grant Plaintiffs’ Motion for

Preliminary Injunction.

                                             ARGUMENT

I.       The Memoranda Violate the Administrative Procedure Act

         The January 20 and February 18 Memoranda violate the APA in four ways. First, they run

afoul of the mandatory-detention provision in Section 1226(c). Second, they are inconsistent with

the mandatory-detention provision in Section 1231(a)(2). Third, they are arbitrary and capricious.

Fourth, they were issued without the necessary notice-and-comment procedures.

         A.     Defendants’ Failure to Detain Criminal Aliens Violates Section 1226(c)

                1.      Section 1226(c) Imposes a Mandatory Duty

         Section 1226(c) provides that “[t]he Attorney General shall take into custody any alien

who” meets certain criteria, 8 U.S.C. § 1226(c), but Defendants argue it does not “impose a

mandatory duty to detain any noncitizen.” ECF 42 at 22. Defendants’ position contradicts both

binding precedent and their own previous positions. See ECF 18 at 13–14.

         The Supreme Court has regularly recognized that Section 1226(c) creates a mandatory



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duty. See Preap, 139 S. Ct. at 966 (“The Secretary must arrest those aliens guilty of a predicate

offense.”); id. at 969 (describing “the Secretary’s obligation to” detain criminal aliens); Jennings

v. Rodriguez, 138 S. Ct. 830, 846 (2018) (“mandates detention”); id. at 849 (“obligates the

Attorney General to ‘take into custody’ certain aliens”); Zadvydas v. Davis, 533 U.S. 678, 698

(2001) (“mandates detention of certain criminal aliens”).

       Understating things, Defendants concede that “various courts have described the statutes

at issue here as ‘mandatory’” but characterize those statements as “pure dicta.” As an initial matter,

lower federal courts “are generally bound by Supreme Court dicta, especially when it is recent and

detailed.” Hollis v. Lynch, 827 F.3d 436, 448 (5th Cir. 2016) (internal quotation marks omitted).

That rule applies here.

       In any event, the Supreme Court’s repeated interpretations of Section 1226(c) are not dicta.

In Preap, for example, aliens demanded bond hearings. 139 S. Ct. at 958–59. But the Supreme

Court held that the aliens were not entitled to bond hearings because they were covered by Section

1226(c)’s mandate that “[t]he Secretary must arrest” and “may not release” certain aliens. Id. at

966. In other words, a bond hearing was not required because the federal government lacked

discretion to release the aliens on bond regardless of any hearing. If the federal government were

not obligated to detain aliens covered by Section 1226(c), then there would have been no reason

the aliens could not have availed themselves of bond hearings under Section 1226(a). Thus, the

Supreme Court’s description of Section 1226(c) was not dicta.

       Even setting that binding precedent to one side, the text, structure, and context of Section

1226 show that Defendants’ duty is mandatory. First, Section 1226(c) uses mandatory language.

It says, “The Attorney General shall take into custody” covered aliens. 8 U.S.C. § 1226(c)(1)

(emphasis added). Contrary to Defendants’ argument, see ECF 42 at 22–24, this is not a bare




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“shall” bereft of any other “manifestation of legislative intent.” Texas, 2021 WL 723856, at *34. 1

The textual contrast between the discretionary “may be arrested and detained” in Section 1226(a)

and the mandatory “shall take into custody” in Section 1226(c) is further evidence. See Antonin

Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts 167 (2012) (explaining

that the “entirety” of a legal instrument “provides the context for each of its parts”).

       Second, if Section 1226(c) were not mandatory, then there would be no reason for it to

exist. Section 1226(a) independently authorizes discretionary detention. See 8 U.S.C. § 1226(a).

There would be no reason for Section 1226(c) to separately authorize discretionary detention for

a specified subset of the aliens already covered by Section 1226(a). Defendants’ interpretation

wrongly renders Section 1226(c) superfluous. See Scalia & Garner, Reading Law at 174

(explaining that no provision “should needlessly be given an interpretation that causes it . . . to

have no consequence”).

       Third, Defendants’ interpretation of Section 1226(c) cannot explain the history and context

of the statute. Congress used Section 1226(c) to confront and remedy the Executive Branch’s

failure to detain dangerous criminal aliens. See ECF 18 at 2–3. If Section 1226(c) were

discretionary, as Defendants argue, it would not serve those purposes, and there would be no

explanation for why Congress enacted it when it did. Thus, Section 1226(c)’s use of “shall” is

mandatory because “the statute’s manifest purpose is to protect the public or private interests of

innocent third parties.” Texas, 2021 WL 723856, at *35.



1
 On the day of filing, counsel discovered that Westlaw had altered the citation for this opinion.
The original citation, 2021 WL 723856, stopped working. Counsel has contacted Westlaw and
hopes the issue will be resolved quickly. A new Westlaw citation, 2021 WL 2096669, now contains
an unpaginated version of the opinion. If the issue with the original Westlaw citation is not resolved
quickly, and the Court would find it helpful, counsel would be happy to file new briefs with a
different form of citation.



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          Next, Defendants argue that Section 1226(c) cannot mean what it says. Resisting the

statute’s plan meaning, they contend that Section 1226(c)’s provision calling for detention “when

the alien is released” from criminal custody (like Section “1231(a)(2)’s provision stating that DHS

‘shall’ detain covered aliens as of ‘the date the alien is released’”) could “not realistically

contemplate—and certainly does not command—the immediate arrest of all covered noncitizens.”

ECF 42 at 27; see also id. at 23. Defendants rely on Preap for this proposition, but it undermines

their argument.

          Preap recognized that Section 1226(c)’s “when . . . released” language means exactly what

it says: “it clarifies when the duty to arrest is triggered: upon release from criminal custody.”

Preap, 139 S. Ct. at 969. Of course, Preap held that, if the federal government failed to meet its

detention obligation immediately, the statute did not prohibit it from doing so later. See id. at 965.

But that does not mean that the federal government is free to disregard Section 1226(c)’s command

to detain covered aliens upon their release from criminal custody. Preap’s better-late-than-never

approach to detention does not obviate Defendants’ obligation to act in a timely fashion.

Defendants’ argument to the contrary “confuses what the Secretary is obligated to do with the

consequences that follow if the Secretary fails (for whatever reason) to fulfill that obligation.” Id.

at 969.

          Finally, Defendants appear to argue that Section 1226(c) is de facto discretionary because

“detention under § 1226(c) is authorized only ‘pending a decision’ on removal” and “the Secretary

undeniably has broad discretion to decide whether it makes sense to pursue removal at all.” ECF

42 at 14 (some internal quotation marks omitted). Even if Defendants’ premises were right, their

conclusion would not follow. Detention “pending a decision on whether the alien is to be

removed,” 8 U.S.C. § 1226(a), means that the alien would be detained from “when the alien is




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released,” id. § 1226(c), “until” Defendants decided whether to remove him. Pending, BLACK’S

LAW DICTIONARY (11th ed. 2019). It would not permit Defendants to forgo detention of the alien

before making a decision about whether to remove the individual alien in question.

       If Defendants could eliminate their duty to detain criminal aliens simply by ignoring those

aliens, it “would lead to an outcome contrary to the statute’s design.” Sylvain v. Attorney Gen. of

U.S., 714 F.3d 150, 160 (3d Cir. 2013). It would “reintroduce[] discretion into the process and

bestow[] a windfall upon dangerous criminals.” Id. at 161. But “Congress eliminated th[at]

discretion,” in part because “immigration officers often underestimate th[e] risks” an alien will

abscond or pose a “danger to the public.” Id. at 161 n.11.

               2.     The Challenged Memoranda Violate Section 1226(c)

       Defendants do not deny that they are not “tak[ing] into custody” numerous aliens covered

by Section 1226(c). Indeed, they do not even claim that they are trying to do so. Instead,

Defendants fall back on the argument that the January 20 and February 18 Memoranda do not

prohibit the detention of covered criminal aliens. See ECF 42 at 26.

       But the words on the face of the challenged memoranda are not controlling. See Texas v.

United States, 809 F.3d 134, 171–72 (5th Cir. 2015). The January 20 and February 18 Memoranda,

as implemented, are in fact causing violations of Section 1226(c). Current ICE officials have

“attributed” the “shift regarding detainers” “to the new ‘enforcement priorities’ established by

memoranda during the Biden Administration.” ECF 46 ¶ 17. And that is not surprising. As the

former Acting Director of ICE explained, by imposing “the requirement that field officers seek

pre-approval for” detentions “not included in the enumerated enforcement priorities,” “the

memoranda effectively instruct ICE enforcement staff to forego undertaking” those detentions.

ECF 19-4 ¶ 36. He explained that the reduction in detainer requests for aliens covered by Section

1226(c) was “a direct result of the memoranda.” Id. ¶ 41.


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        The process of requiring higher-level executive approval to detain criminal aliens covered

by Section 1226(c) is “arbitrary, capricious, an abuse of discretion, [and] otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A). Congress has mandated that criminal aliens be

detained. See supra Part I.A.1. If the executive-branch supervisor approves the detention, then the

approval process has not changed anything. If the executive-branch supervisor does not approve

the detention, then the approval process has resulted in a violation of Section 1226(c). Thus, the

approval process serves no purpose but causing violations of a congressional command.

        B.      Defendants’ Failure to Detain Aliens with Final Orders of Removal Violates
                Section 1231(a)(2)

        Section 1231(a)(2) is mandatory for the same reasons that Section 1226(c) is. First, binding

precedent says so. “After entry of a final removal order and during the 90-day removal period, . . .

aliens must be held in custody.” Zadvydas, 533 U.S. at 683 (citing 8 U.S.C. § 1231(a)(2))

(emphasis added). This Court has said so too. See Texas, 2021 WL 723856, at *36 (rejecting as

“unavailing” federal defendants’ argument against “reading ‘shall’ as mandatory in the first

sentence” of Section 1231(a)(2)).

        Textually, the statute’s use of “shall” is mandatory on its face. 8 U.S.C. § 1231(a)(2). And

structurally, the consistent usage of a mandatory “shall” “in other parts of section 1231 are yet

further indication that the ‘shall’ in” in this provision “bears the same meaning, for ‘a word or

phrase is presumed to bear the same meaning throughout a text.’” Texas, 2021 WL 723856, at *36

(quoting Scalia & Garner, Reading Law at 170). Finally, “the statute’s manifest purpose is to

protect the public or private interests of innocent third parties.” Id. at *35.

        Defendants’ response is to repeat their previous argument that interpreting Section

1231(a)(2)’s first sentence to create a mandatory duty cannot be reconciled with Section

1231(a)(2)’s second sentence. See ECF 42 at 28. But this Court has already reconciled the two



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sentences by explaining that “[t]he first clause mandates the act of detaining” while “[t]he second

clause prohibits the release of certain individuals.” Texas, 2021 WL 723856, at *36.

       In light of Section 1231(a)(2)’s mandatory nature, there is no doubt that Defendants are

violating it. They do not dispute that they are not detaining aliens covered by the provision (i.e.,

those with final orders of removal during the removal period). And as above with Section 1226(c),

unrebutted evidence establishes that Defendants’ implementation of the challenged memoranda is

causing them to violate Section 1231(a)(2). See supra Part I.A.2. The January 20 and February 18

Memoranda erect barriers to compliance with Section 1231(a)(2) that should be set aside under

the APA. See id.

               C.      The Memoranda Are Arbitrary and Capricious

       Plaintiffs’ motion argued that the challenged memoranda are arbitrary and capricious

because they failed to consider non-detention’s effect on recidivism, on removal, and on the States,

as well as to consider more limited policies. See ECF 18 at 19–22. Defendants’ responses cannot

justify the January 20 and February 18 Memoranda.

       First, Defendants argue that they did “consider the effects of recidivism in issuing the

Priority Framework” because the February 18 Memorandum allows federal officers applying its

criteria to consider “the extensiveness, seriousness, and recency of the criminal activity.” ECF 42

at 30 (quoting ECF 19-2 at 5). That is an irrelevant half-truth. It is only half true because, although

federal agents can consider those factors, no “threat to public safety” suffices to satisfy the

memorandum’s criteria. An alien must both “pose[] a threat to public safety” and have “been

convicted of an aggravated felony as defined in section 10l(a)(43) of the INA” or have certain

affiliations with a criminal gang. ECF 19-2 at 4–5. So Defendants’ list of “priorities” purposefully

omits aliens who, by their own definition, “pose[] a threat to public safety.” Id.

       Defendants’ assertion is also irrelevant because it addresses the factors a federal agent can


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consider when applying the challenged memoranda, not the factors Defendants considered when

issuing the challenged memoranda. Those are very different concepts, as Congress recognized

when it “eliminated” Defendants’ “discretion” because “immigration officers often underestimate”

the “risks” posed by criminal aliens. Sylvain, 714 F.3d at 161 n.11. Neither memorandum contains

any explanation for why Defendants did not consider the risks of recidivism sufficient to justify

including criminal aliens covered by Section 1226(c) or Section 1231(a)(2) in their list of

“priorities.”

        Second, Defendants argue that the effect of non-detention on removals is irrelevant because

ICE can still remove any aliens “who, in ICE’s view, need to be removed.” ECF 42 at 31. But that

dodges the key issue. Reducing ICE’s ability to remove criminal aliens is a disadvantage of

Defendants’ policy, and the challenged memoranda give no hint that Defendants were even aware

of that disadvantage. Much less do the January 20 and February 18 Memoranda explain why that

disadvantage is outweighed by other advantages.

        Third, Defendants dispute that they were “required to expressly evaluate the costs to each

State in the Priority Framework.” ECF 42 at 31. But Defendants not only did not consider “each

State” but also did not consider the States collectively, or even note that States might be affected

by their decisions. This Court has already rejected Defendants’ argument. See Texas, 2021 WL

723856, at *42; see also DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1914 (2020)

(describing lost revenue for “States and local governments” as one of several “certainly noteworthy

concerns” that DHS failed to consider, rendering the rescission of DACA arbitrary and capricious).

        Fourth, Defendants argue that Plaintiffs “fail[ed] to identify” a sufficient alternative policy

that Defendants should have considered. ECF 42 at 32. But Plaintiffs specifically suggested that

Defendants should have considered including two specific groups: “criminal aliens and aliens with




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final orders of removal.” ECF 18 at 21. Those are not obscure suggestions. They are “within the

ambit of the” challenged memoranda in light of their professed focus on public safety and border

security. Regents of the Univ. of Cal., 140 S. Ct. at 1913; see ECF 19-1 at 2; ECF 19-2 at 4.

          Finally, Defendants argue that they included aliens “convicted of aggravated felonies” but

not other criminal aliens because “the former category presumptively presents a more significant

threat to public safety.” ECF 42 at 29–30. As an initial matter, that cannot explain Defendants’

choice because, under the challenged memoranda, whether an alien “poses a threat to public

safety” is a separate inquiry from whether he “has been convicted of an aggravated felony as

defined in section 10l(a)(43) of the INA.” ECF 19-2 at 4. In any event, Defendants’ ipse dixit does

not explain why they disagreed with (or disregarded) Congress’s judgment that criminal aliens’

“convictions” are “relevant to future dangerousness.” Demore v. Kim, 538 U.S. 510, 525 n.9

(2003).

                 D.     The Memoranda Are Procedurally Invalid

          Defendants do not dispute that the January 20 and February 18 Memoranda did not undergo

notice-and-comment rulemaking. They argue such procedures were unnecessary, despite the fact

that exceptions to the notice-and-comment requirement are “narrowly construed.” ECF 18 at 23

(quoting Texas, 809 F.3d at 171). This Court’s previous analysis controls here as well.

          First, the January 20 and February 18 Memoranda are not policy statements. Instead, they

are substantive rules because they affect the rights and obligations of not only Defendants but also

aliens. See Texas, 2021 WL 723856, at *45. The memoranda also affect the rights and obligations

of Plaintiffs because they increase Plaintiffs’ federally imposed financial obligations. See, e.g.,

ECF 18 at 9–10; ECF 19-7 ¶ 7. “[P]lac[ing] a cost on the states” is a sign that the challenged

memoranda are not policy statements. Texas, 809 F.3d at 173 n.137; see also Texas v. United




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States, 328 F. Supp. 3d 662, 731 (S.D. Tex. 2018) (finding DACA was a substantive rule because

it “requires states to spend money on various social services”).

        Moreover, the challenged memoranda cannot be considered mere statements of policy

because they have an immediate, binding effect on federal agents. See ECF 19-2 at 1 (“effective

immediately”); Texas 2021 WL 723856, at *45 n.51. They purport to establish DHS’s “priorities,”

and those “priorities shall apply” to a wide variety of enforcement activities. See ECF 19-1 at 2.

The priorities purport to be sufficiently binding that an official “conduct[s] a periodic review of

enforcement actions to ensure consistency with the priorities set forth in” the memoranda, id. at 3,

and that ICE created a “case review” process that allows aliens to ensure they are not subject to

enforcement actions inconsistent with “ICE’s priorities.” ECF 19-16.

        Second, the challenged memoranda are substantive rather than procedural. They satisfy the

substantial impact test because they “impact[] DHS’s statutory obligation[s]” to detain covered

aliens. Texas, 2021 WL 723856, at *47. They also “change[] the substantive standards by which

DHS determines whether” to detain aliens. Id. at *48. And those standards reflect “a substantive

value judgment,” Texas, 809 F.3d at 176–77; Texas, 328 F. Supp. 3d at 728–29, as Defendants

seem to concede. See ECF 42 at 31 (explaining that the memoranda allow Defendants to implement

“ICE’s view” about which aliens “need to be removed”). The memoranda therefore “cannot be

considered procedural.” Texas 809 F.3d at 177; see also Texas, 328 F. Supp. 3d at 729.

II.     Defendants Are Not Taking Care that the Laws Be Faithfully Executed

        Misunderstanding the nature of Plaintiffs’ constitutional claim, Defendants argue that it

“simply alleg[es] that the President has exceeded his statutory authority” and therefore cannot

succeed under the Take Care Clause. Dalton v. Specter, 511 U.S. 462, 473 (1994); see ECF 42 at

40. But Plaintiffs’ claim is not “that the President simply did not fully comply with a

congressionally prescribed process” but “that the President’s actions affirmatively displaced a


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congressionally mandate[.]” Make the Rd. N.Y. v. Pompeo, 475 F. Supp. 3d 232, 258 (S.D.N.Y.

2020). It therefore implicates “constitutional separation of powers concerns not present in Dalton”

and should be “appropriately considered as [a] constitutional claim[] subject to judicial review.”

Id. at 258–59.

       Defendants cite Mississippi v. Johnson, but that case noted that courts cannot issue orders

directing the President’s “exercise of judgment.” 71 U.S. (4 Wall.) 475, 499 (1867). But Plaintiffs

have not sought such an order. They have instead sought an injunction prohibiting implementation

of unlawful memoranda and requiring compliance with non-discretionary statutory duties.

Because Congress has removed any discretion the Executive Branch might have previously had to

decline detention in these circumstances, there is no “exercise of judgment” with which an

injunction could interfere.

       Defendants cite Texas v. United States,106 F.3d 661, 667 (5th Cir. 1997) for the proposition

that “[r]eal or perceived inadequate enforcement of immigration laws does not constitute a

reviewable abdication of duty,” ECF 42 at 41, but in that case the State did not challenge a specific

agency action, but the entire programmatic scheme of enforcement. The court found “no workable

standard against which to judge the agency’s exercise of discretion.” Id. at 667. In this case,

however, the specific agency actions are the memoranda, and the workable standards are the

mandates set by Congress in Sections 1226(c) and 1231(a)(2).

       Defendants dismiss Armstrong v. Exceptional Child Center, Inc., because it held that “the

Supremacy Clause is not the source of federal rights, and certainly does not create a cause of

action.” ECF 42 at 40 (citing 575 U.S. 320, 324 (2015)). But Armstrong also discussed the “long

history of judicial review of illegal executive action” that does not rely on the Supremacy Clause.




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575 U.S. at 327–28. Plaintiffs already explained that their constitutional claim is based on a cause

of action at equity. See ECF 18 at 26.

         Courts can and do enforce the presidential duty to faithfully execute congressional

commands through relief granted against his subordinates. In Kendall v. United States ex rel.

Stokes, 37 U.S. (12 Pet.) 524 (1838), the Postmaster General refused to pay a bill Congress had

specifically appropriated funds to pay. The Court held that the Postmaster General could be

compelled by mandamus to “execute” the law. The Court rejected the Postmaster General’s claim

that only the President could compel him to act:

         This is a doctrine that cannot receive the sanction of this court. It would be vesting
         in the President a dispensing power, which has no countenance for its support in
         any part of the constitution; and is asserting a principle, which, if carried out in its
         results, to all cases falling within it, would be clothing the President with a power
         entirely to control the legislation of congress, and paralyze the administration of
         justice.

         To contend that the obligation imposed on the President to see the laws faithfully
         executed, implies a power to forbid their execution, is a novel construction of the
         constitution, and entirely inadmissible.

Id. at 613; see also United States v. Smith, 27 F. Cas. 1192, 1230 (C.C.D.N.Y. 1806) (Paterson, J.)

(recognizing that the Take Care Clause entails that “[t]he [P]resident of the United States cannot

control [an act of Congress], nor dispense with its execution”); United States v. Midwest Oil Co.,

236 U.S. 459, 505 (1915) (“The Constitution does not confer upon [the President] any power to

enact laws or to suspend or repeal such as the Congress enacts”).

III.     The Memoranda Violate the Agreements

         Defendants make no attempt to argue that they have not violated the Agreements they

entered into with Texas and Louisiana. Instead, they attack the legitimacy of the Agreements

themselves.




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       A.      DHS Legitimately Entered into the Agreements

       Defendants maintain that DHS lacked statutory authority to enter into the Agreements.

ECH 42 at 38. But this is not so: Congress has granted DHS broad authority to implement

cooperative policies with the States. Congress specifically authorized DHS to “develop a process

for receiving meaningful input from State and local government to assist the development of the

national strategy for combating terrorism and other homeland security activities.” 6 U.S.C.

§ 361(b)(4). The notice-and-comment process for receiving input created in the Agreements

provides a legitimate mechanism for receiving that meaningful input. It should be no surprise that

DHS’s chosen process for receiving “meaningful input” mirrors the notice-and-comment process

that Congress created for members of the public to provide meaningful input in analogous

situations. See 5 U.S.C. § 553.

       More generally, the Secretary of DHS is empowered to “perform such other acts as he

deems necessary for carrying out his authority under the provisions of this chapter,” 8 U.S.C.

§ 1103(a)(3), and to “[e]stablis[h] national immigration enforcement policies and priorities,” 6

U.S.C. § 202(5). In other contexts, Defendants emphasize the breadth of their powers. But here,

they ignore these sources of statutory authority. See ECF 42 at 38–39.

       Defendants hyperbolically contend that DHS contracted away its sovereign authority to the

States, see ECF 42 at 38, but the federal government maintains its authority over immigration

policy. The Agreements do not grant the States a veto over federal immigration policy or

substantively limit Defendants’ authority. They are analogous to the APA’s notice-and-comment

requirements, which no one contends are an abdication of federal sovereignty to States, interest

groups, and individuals merely because those procedures delay agency action.

       Defendants also cite U.S. Telecom Ass’n v. FCC, 359 F.3d 554 (D.C. Cir. 2004), as

prohibiting agency “subdelegations to outside parties.” ECF 42 at 39. But the agreements at issue


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here are not prohibited subdelegations. Contrasting illicit subdelegations of agency power with

permitted cooperative arrangements, the court “recognize[d] three specific types of legitimate

outside party input into agency decision-making processes: (1) establishing a reasonable condition

for granting federal approval; (2) fact gathering; and (3) advice giving.” U.S. Telecom Ass’n, 359

F.3d at 566. The court explained that “a federal agency may turn to an outside entity for advice

and policy recommendations, provided the agency makes the final decisions itself.” Id. at 568.

Under the Agreements, DHS continues to “make[] the final decisions itself.” It simply follows a

process for receiving “advice and policy recommendations” from the States.

       Agencies frequently adopt procedural rules not required by statute, and these are enforced

by the federal judiciary. See, e.g., Morton v. Ruiz, 415 U.S. 199, 235 (1974) (overturning agency

action in part because the agency had failed to comply with an informal rule detailing internal

procedures that agency was to follow); Singh v. U.S. Dep’t of Justice, 461 F.3d 290, 295 (2d Cir.

2006) (holding that INS regulations permit consideration of factors relevant to extreme hardship

that statute did not make relevant); Oglala Sioux Tribe of Indians v. Andrus, 603 F.2d 707, 717

(8th Cir. 1979) (Bureau of Indian Affairs personnel decision reversed when agency failed to

consult with tribe before transferring federal agent from one area office to another in violation of

agency commitment to engage in such consultation). Agencies can legitimately bind themselves

to more rigorous procedures, including by agreeing to consult with relevant stakeholders. And

when an agency fails to live up to its commitments, federal courts enforce them.

       The manner that DHS entered into the Agreements was also consistent with the APA.

Defendants’ drive-by, footnoted assertion that the Agreements were subject to notice-and-

comment rulemaking is wrong because they do not “constrain[] the agency from making future

changes to immigration policy.” ECF 42 at 39 n.20. But Defendants’ argument highlights the




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breadth of the notice-and-comment requirement, which supports Plaintiffs’ argument that the

January 20 and February 18 Memoranda are procedurally invalid. See supra Part I.D.

       B.      The Agreements Are Valid and Enforceable in This Court

       Defendants contradictorily claim both (1) that Plaintiffs have an “adequate remedy” in the

Court of Federal Claims—a claim under the Tucker Act’s waiver of sovereign immunity—and

(2) that the Tucker Act would not allow Plaintiffs to file their claim in the Court of Federal Claims.

See ECF 42 at 37. Defendants are only partly right: Plaintiffs could not sue in the Court of Federal

Claims. As a result, they have no adequate remedy without the APA, and nothing precludes this

Court from hearing their claim.

       Under the Tucker Act, contract actions against the federal government seeking money

damages over $10,000 are within the exclusive jurisdiction of the Court of Federal Claims. 28

U.S.C. § 1491. However, the Court of Federal Claims’ “jurisdiction over contract claims turns on

whether the Government was acting in its sovereign or proprietary capacity when it entered into

the contract or agreement at issue.” Doe v. United States, 37 Fed. Cl. 74, 77–78 (1996). “The

contract liability which is enforceable under the Tucker Act consent to suit does not extend to

every agreement, understanding, or compact which can semantically be stated in terms of offer

and acceptance or meeting of minds.” Kania v. United States, 650 F.2d 264, 268 (Ct. Cl. 1981).

“[T]he principal class of contract case” covered by the Tucker Act is limited to “the instances

where the sovereign steps off the throne and engages in purchase and sale of goods, lands, and

services, transactions such as private parties, individuals or corporations also engage in among

themselves.” Id. The Agreements at issue here are nothing like an agency’s contract with a supplier

of office supplies. They involve DHS receiving input on the exercise of the federal government’s

sovereign authority over immigration. This case is not within the jurisdiction of the Court of

Federal Claims.


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        Sovereign immunity is not a bar here. Plaintiffs are not seeking money damages at all. Nor,

contrary to Defendants’ assertion, see ECF 42 at 36–37, are they seeking specific performance to

affirmatively require DHS to provide notice and follow the procedures in the Agreements. Rather,

they seek the standard remedies for unlawful agency action, holding unlawful and setting aside the

challenged memoranda. See ECF 1 at 28.

        The distinction between relief “ordering the cessation of the conduct complained of” and

relief “requir[ing] affirmative action by the sovereign” is the basis for the long-standing rule that

ultra vires suits against federal officers (and analogous Ex parte Young suits against state officers)

do not implicate sovereign immunity. Larson v. Domestic & Foreign Commerce Corp., 337 U.S.

682, 691 n.11 (1949). “[I]f the federal officer, against whom injunctive relief is sought, allegedly

acted in excess of his legal authority, sovereign immunity does not bar a suit. . . . [T]here is no

sovereign immunity to waive—it never attached in the first place.” Chamber of Commerce of U.S.

v. Reich, 74 F.3d 1322, 1329 (D.C. Cir. 1996).

        In Georgia Railroad & Banking Co. v. Redwine, 342 U.S. 299, 304 (1952), the Court found

that an injunction against the assessment and collection of a tax was consistent with sovereign

immunity. This relief disregarded the action as a nullity. An injunction against collection, which

was permissible, was contrasted with specific performance, which was not: “Appellant in this case

merely seeks the cessation of appellee’s allegedly unconstitutional conduct and does not request

affirmative action by the State.” Id. at 304 n.15.

        The remedies sought here—setting aside as null the agency actions that failed to comply

with the terms of the Agreements—are the standard remedies for unlawful agency action.

Defendants present no valid reason this Court cannot consider them.

IV.     No Procedural Issue Prevents This Court’s Review

        Nothing precludes judicial review here. Plaintiffs have standing, and the January 20 and


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February 18 Memoranda are final agency action reviewable under the APA.

       A.      Texas and Louisiana Have Standing

       Texas and Louisiana asserted theories of standing that this Court has previously accepted.

See ECF 18 at 28–30. Defendants do not dispute that States’ financial costs stemming from illegal

aliens can qualify as injuries in fact. Instead, they appear to challenge causation and redressability.

       First, Defendants argue that the States’ financial costs are not attributable to the challenged

memoranda because “it is possible that the Priority Framework” will actually be good for Texas

and Louisiana. ECF 42 at 9. But no one disputes that Defendants have already imposed costs on

the States by refusing to take custody of particular aliens. See ECF 19-6 ¶¶ 6–8; ECF 46 ¶ 12. And

no one disputes that “ICE officials attributed [those refusals] to the new ‘enforcement priorities’

established by memoranda during the Biden Administration.” ECF 46 ¶ 17. So Defendants do not

deny that Plaintiffs face costs traceable to the January 20 and February 18 Memoranda.

       Defendants’ theory is that those costs are outweighed because “it is possible that” the

challenged memoranda will result in “a net reduction in crimes.” ECF 42 at 9. As an initial matter,

Defendants’ speculation about what “is possible” is not evidence sufficient to rebut Plaintiffs’

showing of standing. Indeed, the evidence in the record shows that there will not be “a net

reduction in crimes” because Defendants are radically decreasing immigration enforcement, not

simply shifting ICE resources from one set of aliens to another. That is why the number of “ICE

initial book-ins” has decreased so dramatically since the challenged memoranda took effect. ECF

18 at 7–8.

       In any event, a potential reduction in other crimes committed by other aliens cannot offset

the costs Texas and Louisiana face from continuing to detain and monitor the criminal aliens in

their custody. “Weighing those costs and benefits is precisely the type of ‘accounting exercise,’ in

which we cannot engage.” Texas, 809 F.3d at 156 (citation omitted). Defendants’ speculation does


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not concern benefits “of the same type” or “from the same transaction” as the costs Plaintiffs’

incur. Id. at 155. In the DAPA case, the Fifth Circuit held that “the increase in vehicle registration

and the decrease in uninsured motorists” could not offset Texas’s costs in issuing driver’s licenses,

even though they could involve the same aliens, because they “are based on the independent

decisions of DAPA beneficiaries and are not a direct result of the issuance of licenses.” Id. at 156.

The same logic applies here: To the extent one group of aliens commits fewer crimes, that would

be based on the independent decisions of third parties and not a direct result of Texas and Louisiana

detaining or monitoring a different group of aliens.

       Second, Defendants claim that a favorable ruling from this Court might not redress

Plaintiffs’ injuries. See ECF 42 at 11. On the contrary, an injunction prohibiting Defendants from

implementing the memoranda would likely redress Plaintiffs’ injuries in light of the unrebutted

evidence that “ICE officials attributed [ICE’s shift regarding detainers] to the new ‘enforcement

priorities’ established by memoranda.” ECF 46 ¶ 17. An injunction mandating that Defendants

take custody of aliens covered by Section 1226(c) or Section 1231(a) would certainly redress

Plaintiffs’ injuries. Defendants only counterargument seems to be that such relief is improper on

the merits. See ECF 42 at 11 (citing ECF 42 “section VI.b”). But whether relief is appropriate on

the merits does not affect redressability. The Court should “assume, for purposes of the standing

analysis, that Texas is correct on the merits of its claim.” Texas v. EEOC, 933 F.3d 433, 447 (5th

Cir. 2019); see also N. Cypress Med. Ctr. Operating Co., Ltd. v. Cigna Healthcare, 781 F.3d 182,

191 (5th Cir. 2015) (“[W]hen considering whether a plaintiff has Article III standing, a federal

court must assume arguendo the merits of his or her legal claim.”).

       In any event, Plaintiffs are entitled to “‘special solicitude’ in satisfying [their] burden to

demonstrate . . . traceability and redressability.” Texas, 2021 WL 723856, at *10. Defendants




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respond that special solicitude does not help with showing an injury in fact. See ECF 42 at 10–11

n.7. But Plaintiffs have undisputed costs that qualify as injuries in fact. Whether the challenged

agency action will increase those costs is a question of traceability, and that is an area in which

States are entitled to special solicitude. See Massachusetts v. EPA, 549 U.S. 497, 522–25 (2007)

(treating the costs of global warming as injuries and addressing whether agency action would

increase those costs under traceability).

       Finally, Defendants do not appear to dispute that Plaintiffs have standing for their notice-

and-comment claim. See ECF 42 at 11 n.8. In that claim, Plaintiffs seek to vindicate “a procedural

right,” so they have “standing if there is some possibility that the requested relief will prompt the

injury-causing party to reconsider the decision that allegedly harmed the litigant.” Massachusetts,

549 U.S. at 518. Here, “[e]njoining [the memoranda] based on the procedural APA claim could

prompt DHS to reconsider the [memoranda], which is all a plaintiff must show when asserting a

procedural right.” Texas, 809 F.3d at 161. As Defendants admit, another federal court found that

the State of Florida had standing to bring similar claims. See Florida v. United States, No. 8:21-

cv-541, 2021 WL 1985058, at *8 (M.D. Fla. May 18, 2021) (holding that Florida had standing

based on “[t]he probation costs to the State for overseeing these noncitizens on supervised

release”); ECF 42-7 at 18.

       B.      The Memoranda Are Final Agency Action

       Plaintiffs’ motion argued that the challenged memoranda satisfy the first element of final

agency action “because they have already gone into effect.” ECF 18 at 31. Defendants’ response

does not challenge that conclusion.

       For the second element—whether the January 20 and February 18 Memoranda affect

anyone’s rights or obligations—Defendants contradict this Court’s previous analysis. See ECF 42

at 12–14. This Court held that the 100-day pause was final agency action for two reasons. First, it


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purported to “alter[] DHS’s obligation under” the INA. Texas, 2021 WL 723856, at *32. Second,

it “affect[ed] the rights of” aliens because it “guaranteed that numerous detained individuals

subject to a final order of removal would” be released as a result. Id.

       The same is true here. As explained above, the challenged memoranda are inconsistent

with, and therefore purport to alter, Defendants’ statutory obligations. See supra Part I.A–B. In

addition, the January 20 and February 18 Memoranda guarantee that numerous aliens will not be

taken into federal custody. It also has legal consequences for Plaintiffs, who will be legally

compelled to spend more money. See, e.g., ECF 18 at 9–10; ECF 19-7 ¶ 7. Defendants characterize

the memoranda’s consequences as “practical” rather than “legal,” ECF 42 at 13, but the effects are

legal for immigration officers, whose powers and duties have been altered; for aliens, who will

either be taken into custody or not; and for States, who will incur federally imposed financial

obligations. The memoranda affect rights and obligations for purposes of finality for the same

reasons that they affect rights and obligations for purposes of Plaintiffs’ notice-and-comment

claim. See supra Part I.D.

       C.      The Memoranda Are Reviewable

       Defendants argue that the challenged memoranda are unreviewable under the APA. That

is wrong for the reasons explained below, but it is also important to note that Defendants do not

dispute that reviewability poses no obstacle to Plaintiffs’ claims based on the lack of notice-and-

comment rulemaking, the Constitution, or the Agreements. See ECF 18 at 32–33.

               1.      No Statute Precludes Review

       Defendants invoke three statutes, but none of them precludes review here. First, Defendants

invoke 8 U.S.C. § 1252(b)(9). See ECF 42 at 16–18. It channels review of issues “arising from any

action taken or proceeding brought to remove an alien from the United States under this

subchapter.” But Section 1252(b)(9) “applies only ‘[w]ith respect to review of an order of removal


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under subsection (a)(1),’” INS v. St. Cyr, 533 U.S. 289, 313 (2001) (quoting 8 U.S.C. § 1252(b));

see also Regents of the Univ. of Cal., 140 S. Ct. at 1907. It has no application here. As this Court

has previously explained, Section 1252(b)(9) is “irrelevant” because “Texas is not challenging a

final order of removal, nor is it challenging any aspect of removal proceedings an individual has

undergone.” Texas, 2021 WL 723856, at *30. Plaintiffs’ claims challenge Defendants’ failure to

detain aliens subject to mandatory detention, not Defendants’ issuance of final orders of removal

to particular aliens.

         Defendants contend that congressional authorization for aliens to challenge final orders of

removal against them implicitly forbids States from challenging federal agency action related to

detention of aliens. See ECF 42 at 17–18. But the connection between those two types of claims is

too tenuous to support an inference that Congress meant to bar the claims at issue here. That is

especially so in light of Defendants’ “heavy burden” to present “clear and convincing evidence”

to overcome “the general presumption favoring judicial review of administrative action.” Texas,

809 F.3d at 163–64.

         Second, Defendants argue that Section 1226(e) bars Plaintiffs’ claim that the memoranda

are contrary to Section 1226(c). See ECF 42 at 18–19. As Plaintiffs already explained, the Supreme

Court has held that Section 1226(e) “applies only to ‘discretionary’ decisions,” not to “lawsuits

over ‘the extent of the Government’s detention authority.’” ECF 18 at 32. Defendants do not

dispute that principle. Instead, they argue that whether to detain an alien under Section 1226(c) is

“discretionary.” ECF 42 at 18. That is not right for the reasons explained above. See supra Part

I.A.

         Third, Defendants argue that Section 1231(h) precludes Plaintiffs’ claim that the

memoranda are contrary to Section 1231(a)(2). Rejecting Defendants’ argument, this Court has




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already held that Section 1231(h) applies only to “the alien involved in the immigration removal

proceeding detailed in that specific section.” Texas, 2021 WL 723856, at *27. In the interests of

brevity, Plaintiffs will not repeat the Court’s detailed analysis, see id. at *23–*29, but suffice to

say, Plaintiffs agree.

        Moreover, even if Section 1231(h) applied to Texas and Louisiana, it would not preclude

them from proceeding with a claim under the APA. See Zadvydas, 533 U.S. at 687–88 (holding

that Section 1231(h) “does not deprive an alien of the right to rely on 28 U.S.C. § 2241 to challenge

detention that is without statutory authority”); Texas v. United States, No. 6-21-cv-3, 2021 WL

247877, at *4 (S.D. Tex. Jan. 26, 2021) (holding that Section 1231(h) did not prohibit Texas from

bringing an APA claim against agency action inconsistent with Section 1231(a)(1)(A)). After all,

an APA claim does not require the plaintiff to show that another statute “create[s] any substantive

or procedural right or benefit that is legally enforceable.” 8 U.S.C. § 1231(h). It is enough to show

that “agency action” is “not in accordance with law,” regardless of whether that law creates rights.

5 U.S.C. § 706(2)(A).

        Finally, Defendants bootstrap their argument about Section 1231(h) into an argument about

the zone of interests. See ECF 42 at 21–22. Plaintiffs fit within the zone of interests both because

Defendants are wrong about Section 1231(h) and for the reasons this Court has already explained.

See Texas, 2021 WL 723856, at *23–*29. The States’ interests in not spending scarce resources

on criminal aliens are well “within the zone of interests of the INA.” Texas, 809 F.3d at 163. The

test is, after all, not “especially demanding.” Id. at 162.

                2.       Defendants Do Not Have Discretion to Disregard Mandatory-Detention
                         Provisions or Act Arbitrarily

        As in the previous case, “Defendants lean heavily on a long line of cases espousing the

uncontroversial proposition that the Executive wields tremendous discretion in the area of



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immigration law.” Texas, 2021 WL 723856, at *37. But those cases do not change the principle

that “the Executive—and thus, the Attorney General or the Secretary of DHS—must exercise any

discretion accorded it by statute in the manner which Congress has prescribed.” Id. at *38. Because

Sections 1226(c) and 1231 limit Defendants’ discretion, they cannot claim that violations of those

provisions are “committed to agency discretion.” Id.

       Defendants have two responses. First, they argue that the INA does not limit their

discretion. See ECF 42 at 14. Second, Defendants contend that the challenged memoranda are not

inconsistent with a mandatory duty to detain the aliens covered by those provisions. See id. at 15.

Defendants are wrong for the reasons explained above on the merits. See supra Part I.A–B.

       Moreover, even if Plaintiffs were wrong about the meaning of Sections 1226(c) and

1231(a)(2), this still would not be one of “those rare circumstances where the relevant statute is

drawn so that a court would have no meaningful standard against which to judge the agency’s

exercise of discretion.” Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv., 139 S. Ct. 361, 370 (2018)

(quotation omitted). That an agency has some discretion is not enough to make its action

unreviewable under the APA. If it were, courts would never be able to “hold unlawful and set aside

agency action . . . found to be . . . an abuse of discretion,” as the APA itself requires. 5 U.S.C.

§ 706(2)(A). “To give effect to § 706(2)(A) and to honor the presumption of review,” the Supreme

Court has “read the exception in § 701(a)(2) quite narrowly.” Weyerhaeuser, 139 S. Ct. at 370. As

this Court recently demonstrated, “meaningful standards” exist for determining whether the

January 20 and February 18 Memoranda are arbitrary and capricious, for example. See Texas, 2021

WL 723856, at *39–*42; see also Regents of the Univ. of Cal., 140 S. Ct. at 1910–15.

V.     The Non-Merits Factors Favor a Preliminary Injunction

       Defendants dismiss Plaintiffs’ irreparable injuries as speculative, ECF 42 at 25, arguing

there is insufficient traceability from the memoranda to any increased financial burden on


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Plaintiffs. Defendants further contend that such injuries cannot outweigh the “severe burden” an

injunction would impose on “core Article II authority”: prosecutorial discretion. Id. at 55. But this

Court has already rejected similar arguments. Increased financial costs incurred by Texas’s

detention and education systems constitute concrete and irreparable harm. See Texas, 2021 WL

723856, at *12, *48. Further, this Court found that any restraint on Defendants’ unlawful exercise

of prosecutorial discretion could not outweigh the harm facing Texas. Id. at *50 (“[S]uch concerns

are ‘outweighed by the major financial losses’ Texas will face.”) (citing Texas, 809 F.3d at 187).

         A.     Texas and Louisiana Face Irreparable Harm

         Plaintiffs previously explained why their injuries are irreparable. See ECF 18 at 33–34.

Defendants do not appear to dispute those arguments. Instead, they combine their discussion of

irreparable injury with their arguments about standing in an effort to suggest that Plaintiffs suffer

no injuries at all. See ECF 42 at 8–11. Because Defendants are wrong about standing, they are

wrong about irreparable injury as well. See supra Part IV.A. And in light of Defendants’ failure to

contest Plaintiffs’ standing for their notice-and-comment claim, see ECF 42 11 n.8, it seems that

Defendants also do not contest irreparable injury for that claim.

         B.     An Injunction Would Not Harm Defendants or the Public

         Defendants assert that an injunction would be a “severe burden on core Article II authority”

because it would restrain their prosecutorial discretion. See ECF 42 at 41. This Court has rejected

this argument in a previous case, and it fails again here. Defendants do not have “absolute

discretion in immigration enforcement.” Texas, 2021 WL 723856, at *51. What discretion

Defendants have is inapplicable here. As explained above, Congress has set its own priorities that

the Executive Branch must follow. See supra Part I.A–B. Of course, Defendants also lack

discretion to act arbitrarily or without following notice-and-comment procedures. See supra Part

I.C–D.


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       Because the memoranda are unlawful, Defendants have no legitimate interest in enforcing

them. See ECF 18 at 34–35. Further, there is no injury to Defendants’ Article II authority because

here Congress has precluded the exercise of prosecutorial discretion. An injunction would only

serve to ensure Defendants make policy priorities within the boundaries of the law as enacted by

Congress. Indeed, an injunction also serves the public interest because “‘the public is served when

the law is followed,’ and the public will indeed be served if DHS is enjoined from suspending the

law,” Texas, 2021 WL 723856, at *51 (quoting Daniels Health Scis., L.L.C. v. Vascular Health

Scis., L.L.C., 710 F.3d 579, 585 (5th Cir. 2013)), and “[t]he public interest is ‘always’ served by

the execution of removal orders.” Id. (quoting Nken v. Holder, 556 U.S. 418, 436 (2009)).

       Defendants plead poverty by suggesting they lack the resources to enforce the law as

Congress requires, see ECF 42 at 42, but as the former Acting Director of ICE explained, “ICE

has sufficient resources to maintain higher levels of enforcement.” ECF 19-4 ¶ 39. “‘Limited

resources’ cannot justify or explain the decreased level of enforcement stemming from the January

20 and February 18 memorand[a].” Id.

       To the extent the Court credits Defendants’ concerns, it could certainly tailor an injunction.

Any tailoring would of course depend on the Court’s merits rulings, but numerous options exist.

For example, an injunction prohibiting implementation of the memoranda would not compel

Defendants to make a dramatic break with recent practice, as they suggest. It would simply restore

the status quo ante the issuance of the unlawful memoranda. Similarly, an injunction prohibiting

Defendants from implementing the portions of the memoranda that require higher-level approval

for detention of aliens covered by Sections 1226(c) and 1231(a)(2) would both improve (though

not guarantee) compliance with federal law and reduce the managerial resources required from

Defendants.




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VI.      Both Mandatory and Prohibitory Relief Are Appropriate Nationwide

         Defendants attempt to artificially limit the relief available to remedy their unlawful

conduct. See ECF 42 at 43–47. But this Court has the authority to issue mandatory relief,

prohibitory relief, or both. That relief should extend nationwide for the same reasons courts have

granted nationwide relief in similar immigration cases. See ECF 18 at 35–36.

         A.     Plaintiffs Are Entitled to Relief under 5 U.S.C. § 706(1)

         Defendants argue that it would be improper for the Court to mandate that DHS issue

detainers because no statute requires DHS to issue detainers at all. See ECF 42 at 44–45.

Defendants attack a straw man—Plaintiffs seek not an injunction ordering DHS to issue detainers

but to “take custody of criminal aliens” in circumstances required by Congress, ECF 18 at 18. That

is a “discrete agency action that [they are] required to take.” Norton v. S. Utah Wilderness All.,

542 U.S. 55, 64 (2004). Of course, issuing detainers to state and local jails and prisons is the typical

(and efficient) method of performing this duty. If DHS wants to take criminal aliens into custody

by some other method, such as having ICE agents camp outside state detention facilities to arrest

criminal aliens upon their release, that would still be a significant improvement over the status

quo.

         B.     Relief Should Be Nationwide

         Defendants also argue that any injunctive relief should be geographically limited to Texas

and Louisiana. See ECF 42 at 45–47. Citing the motions panel decision in East Bay Sanctuary

Covenant v. Barr, 934 F.3d 1026 (9th Cir. 2019), Defendants argue that multiple lawsuits in

different courts challenging the same governmental action, as exists here, counsels against

nationwide relief. See ECF 42 at 46. But the later Ninth Circuit merits panel affirmed the

nationwide injunction in that case. It explained that the APA supports nationwide relief. “Section

706(2) does not tell a circuit court to ‘set aside’ unlawful agency action only within the geographic



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boundaries of that circuit. Vacatur of an agency rule prevents its application to all those who would

otherwise be subject to its operation.” E. Bay Sanctuary Covenant v. Garland, 994 F.3d 962, 987

(9th Cir. 2020). The Court also recognized that “cases implicating immigration policy have a

particularly strong claim for uniform, nationwide relief” and that “[t]he Fifth Circuit . . . agrees

with the Ninth Circuit that nationwide injunctions are uniquely appropriate in immigration cases.”

Id.

          Of course, this Court has previously issued a nationwide injunction against Defendants’

immigration policies based on the evidence in the record of the mobility of aliens across different

States and because of the controlling precedent of the Fifth Circuit. Texas, 2021 WL 723856, at

*53; see also Texas, 809 F.3d at 188 (“[A] geographically limited injunction would be ineffective

because [aliens] would be free to move among states.”); Texas, 2021 WL 247877, at *6–*8.

          Defendants attempt to distinguish this Court’s prior injunction on two grounds. First, they

argue that “the Priority Framework requires individualized determinations,” so “the purported

need for uniformity in immigration is inapplicable here.” ECF 42 at 46. But that conflates the fact

that outcomes will never be uniform across aliens (because the facts will differ from case to case)

with the need for “a uniform rule” to be applied in all cases. U.S. Const. art. I, § 8 (emphasis

added).

          Second, Defendants argue that, as a matter of “basic logic,” aliens held in other States

would be unlikely to locate to Texas or Louisiana upon their release if they would be more likely

to be subject to federal detention in those two States based on a geographically limited injunction.

ECF 42 at 47. But that “basic logic” is inapplicable. Even the mandatory relief Plaintiffs seek

would not force Defendants to improve their arrests of aliens at large in the community. It would

require Defendants to take custody of aliens being released from criminal custody. Thus, an alien




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released from criminal custody in New Mexico, would not fear moving across the border to Texas,

as Defendants speculate, unless he anticipated, for example, committing a crime covered by

Section 1226(c), being caught, serving time, and being released, all during the pendency of a

preliminary injunction, of which he would have to be aware. Even if that were true of some

criminal aliens—Defendants submit no evidence that it is—it would not be true of all criminal

aliens who move across State lines. Defendants’ general skepticism about aliens moving across

State lines contradicts the evidence in the record, see ECF 19-21–19-23, and the Fifth Circuit’s

previous reliance on the fact that aliens “would be free to move among states,” a point for which

it did not require evidence. See Texas, 809 F.3d at 188.

                                          CONCLUSION

       The State of Texas and the State of Louisiana respectfully request that the Court grant their

Motion for Preliminary Injunction.




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Date: May 25, 2021                 Respectfully submitted.

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                                CERTIFICATE OF WORD COUNT

       I certify that the total number of words in Plaintiff’s Motion for Preliminary Injunction,
exclusive of those sections designated for omission, is 9,218 as registered by Microsoft Word.

                                             /s/Patrick K. Sweeten
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                                   CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on May 25, 2021, which automatically serves all counsel of record who are
registered to receive notices in this case.

                                             /s/Patrick K. Sweeten
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